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4                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF WASHINGTON
5                                    AT TACOMA
6
7      VANCOUVER CLINIC INC PS,
                                                    CASE NO.
8                                                   3:20−cv−05605−BHS
                                   Plaintiff (s),
9                         v.                        ORDER REGARDING INITIAL
                                                    DISCLOSURES, JOINT STATUS
10                                                  REPORT, DISCOVERY, DEPOSITIONS
       AFFILIATED FM INSURANCE
       COMPANY,                                     AND EARLY SETTLEMENT
11
12                               Defendant (s).

13                             I. INITIAL SCHEDULING DATES
14         The Court sets the following initial case scheduling deadlines:

15              Deadline for FRCP 26(f) Conference:                          10/14/2020

16              Initial Disclosures Pursuant to FRCP 26(a)(1):               10/21/2020
17              Combined Joint Status Report and Discovery
                Plan as Required by FRCP 26(f)
18              and Local Civil Rule 26(f):                                  10/28/2020
19         The deadlines above may be extended only by the Court. Any request for an
20   extension should be made by email to Gretchen Craft, Courtroom Deputy, at
21   gretchen_craft@wawd.uscourts.gov. If Defendants have appeared, the parties are
22   directed to meet and to confer before contacting the Court to request an extension.
23         If this case involves claims which are exempt from the requirements of
24   FRCP 26(a) and 26(f), please notify the Courtroom Deputy at
25   gretchen_craft@wawd.uscourts.gov.
26

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1                    II. JOINT STATUS REPORT & DISCOVERY PLAN
2          All counsel and any pro se parties are directed to confer and provide the Court

3    with a combined Joint Status Report and Discovery Plan (the "Report") by

4    October 28, 2020. This conference shall be by direct and personal communication,

5    whether that be a face−to−face meeting or a telephonic conference. The Report will be

6    used in setting a schedule for the prompt completion of the case. It must contain the

7    following information by corresponding paragraph numbers:

8          1. A statement of the nature and complexity of the case.

9          2. A proposed deadline for the joining of additional parties.

10         3. The parties have the right to consent to assignment of this case to a full time

11   United States Magistrate Judge, pursuant to 28 U.S.C. §636(c) and Local Rule MJR 13

12   to conduct all proceedings. The Western District of Washington assigns a wide range of

13   cases to Magistrate Judges. The Magistrate Judges of this district thus have significant

14   experience in all types of civil matters filed in our court. Additional information about

15   our district's Magistrate Judges can be found at www.wawd.uscourts.gov. The

16   parties should indicate whether they agree that the Honorable David W. Christel

17   may conduct all proceedings, including trial and the entry of judgment. When responding

18   to this question, the parties should only respond "yes" or "no". Individual party

19   responses should not be provided. A "yes" response should be indicated only if all

20   parties consent. Otherwise, a "no" response should be provided.

21         4. A discovery plan that states, by corresponding paragraph letters (A, B, etc.),

22   the parties' views and proposals on all items in Fed. R. Civ. P. 26(f)(3), which

23   includes the following topics:

24               (A) initial disclosures;

25               (B) subjects, timing, and potential phasing of discovery;

26               (C) electronically stored information;

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1                (D) privilege issues;
2                (E) proposed limitations on discovery; and
3                (F) the need for any discovery related orders.
4          5. The parties' views, proposals, and agreements, by corresponding paragraph
5    letters (A, B, etc.), on all items set forth in Local Civil Rule 26(f)(1), which includes
6    the following topics:
7                (A) prompt case resolution;
8                (B) alternative dispute resolution;
9                (C) related cases;
10               (D) discovery management;
11               (E) anticipated discovery sought;
12               (F) phasing motions;
13               (G) preservation of discoverable information;
14               (H) privilege issues;
15               (I) Model Protocol for Discovery of ESI; and;
16               (J) alternatives to Model Protocol.
17         6. The date by which discovery can be completed.
18         7. Whether the case should be bifurcated by trying the liability issues before
19   the damages issues, or bifurcated in any other way.
20         8. Whether the pretrial statements and pretrial order called for by Local Civil
21   Rules 16(e), (h), (i), and (k), and 16.1 should be dispensed with in whole or in part
22   for the sake of economy.
23         9. Any other suggestions for shortening or simplifying the case.
24         10. The date the case will be ready for trial. The Court expects that most civil
25   cases will be ready for trial within a year after filing the Joint Status Report and
26   Discovery Plan.

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1          11. Whether the trial will be jury or non−jury.
2          12. The number of trial days required.
3          13. The names, addresses, and telephone numbers of all trial counsel.
4          14. The dates on which the trial counsel may have complications to be
5    considered in setting a trial date.
6          15. If, on the due date of the Report, all defendant(s) or respondents(s) have not
7    been served, counsel for the plaintiff shall advise the Court when service will be
8    effected, why it was not made earlier, and shall provide a proposed schedule for the
9    required FRCP 26(f) conference and FRCP 26(a) initial disclosures.
10         16. Whether any party wishes a scheduling conference before the Court enters
11   a scheduling order in the case.
12         17. List the date(s) that each and every nongovernmental corporate party filed
13   its disclosure statement pursuant to Fed. R. Civ. P. 7.1 and Local Rule 7.1.
14         If the parties are unable to agree to any part of the Report, they may answer in
15   separate paragraphs. No separate reports are to be filed. If the parties wish to have a
16   status conference with the Court at any time during the pendency of this action, they
17   should notify the Court by telephone at (253) 882−3850.
18                                         III. DISCOVERY
19         All discovery matters should be resolved by agreement if possible. If a ruling is

20   needed on any discovery question, and counsel wish to avoid the time and expense of a

21   written motion, they may request an expedited ruling through a telephone conference call

22   to the Court at (253) 882−3850.

23                                         IV. DEPOSITIONS

24         Depositions will be conducted in compliance with the following rules:

25           1. Examination: If there are multiple parties, each side should ordinarily
                designate one attorney to conduct the main examination of the deponent,
26

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1                and any questioning by other counsel on that side should be limited to
                 matters not previously covered.
2
             2. Objections: The only objections that should be raised at the deposition are
3               those involving privilege against disclosure, or some matter that may be
                remedied if presented at the time (such as the form of the question or the
4               responsiveness of the answer), or that the question seeks information beyond
                the scope of discovery. Objections on other grounds are unnecessary and
5               should be avoided. All objections should be concise and must not suggest
                answers to, or otherwise coach the deponent. Argumentative interruptions
6               will not be permitted.
7            3. Directions Not to Answer: Directions to the deponent not to answer are
                improper. Advice not to answer may be appropriate on the ground of
8               privilege or to enable a party or deponent to present a motion to the Court
                or special master for termination of the deposition on the ground that it is
9               being conducted in bad faith or in such a manner as unreasonably to annoy,
                embarrass or oppress the party or the deponent, or for appropriate
10              limitations upon the scope of the deposition (e.g., on the ground that the
                line or inquiry is not relevant nor reasonably calculated to lead to the
11              discovery of admissible evidence). When a privilege is claimed, the witness
                should nevertheless answer questions relevant to the existence, extent or
12              waiver of the privilege, such as the date of the communication, who made
                the statement in question, to whom and in whose presence the statement was
13              made, other persons to whom the contents of the statement have been
                disclosed, and the general subject matter of the statement.
14
             4. Responsiveness: Witnesses will be expected to answer all questions directly
15              and without evasion, to the extent of their testimonial knowledge, unless
                they choose to follow the advice of counsel not to answer.
16
             5. Private Consultation: Private conferences between deponents and their
17              attorneys during the actual taking of the deposition are improper, except for
                the purpose of determining whether a privilege should be asserted. Unless
18              prohibited by the Court for good cause shown, such conferences may,
                however, be held during normal recesses and adjournments.
19
             6. Conduct of Examining Counsel: Examining counsel will refrain from
20              asking questions he or she knows to be beyond the legitimate scope of
                discovery, and from undue repetition.
21
             7. Courtroom Standard: All counsel and parties should conduct themselves in
22              depositions with the same courtesy and respect for the rules that are
                required in the courtroom during trial.
23
24                            V. PLAINTIFF'S RESPONSIBILITY
25         This Order is issued at the outset of the case, and a copy is sent by the clerk to

26   counsel for plaintiff (or plaintiff, if pro se) and any defendants who have appeared.

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1    Plaintiff's counsel (or plaintiff, if pro se) is directed to serve copies of this Order on all
2    parties who appear after this Order is filed. Such service shall be accomplished
3    within ten (10) days after each appearance. Plaintiff's counsel (or plaintiff, if pro se)
4    will be responsible for starting the communications needed to comply with this Order.
5                  VI. JUDGE SPECIFIC PROCEDURAL INFORMATION
6          All counsel and unrepresented parties should review Judge Settle's chambers

7    procedures at https://www.wawd.uscourts.gov/judges/settle−procedures, and pay

8    particular attention to Judge Settle's requirements regarding discovery and depositions.

9    The judges' web pages, in addition to the Local Rules, Electronic Filing Procedures for

10   Civil and Criminal cases, court forms, instruction sheets and General Orders can be

11   found on the Court's website at https://www.wawd.uscourts.gov.

12        VII. EARLY SETTLEMENT CONSIDERATION AND NOTIFICATION

13         If settlement is achieved, counsel shall immediately notify the Courtroom Deputy

14   at gretchen_craft@wawd.uscourts.gov.

15         The parties are responsible for complying with the terms of this Order. The Court

16   may impose sanctions on any party who fails to comply fully with this Order.

17
18         DATED: The 30th of July 2020

19

20
                                                  s/ Benjamin H. Settle
21
                                                Benjamin H. Settle
22                                              United States District Judge

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